        CaseRECEIVED
             1:19-md-02915-AJT-JFA Document 57 Filed 11/14/19 Page 1 of 2 PageID# 142
              M«.ILROOM

                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OP VIRGINIA


                                     Y AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                                          CRIMINAL RULE 57.4
                   In Case Number 1;19md29l5                  , Case Name IN RE: CAPITAL ONE CONSUMER DATA SEC
                   Party Represented by Applicant: Plaintiffs Christina Labajo and Mary Yoon

To: Tiic Honorable Jiidgc.s of the United States District Court for the Eastern District of Virginia

                                                         PERSONAL STATEMENT


FULL NAME(no initials, please) Joel Dashieii Smith
13ar Identification Number 244902                    State California
Firm Name Bursor & Fisher PA
Firm Phone# (925)300-4455                          Direct Dial #                                  FAX# 19251407-2700
E-Mait Address ismith@bursor.com
Office Mailing Address 1990 N. Caiifornia Blvd., Suite 940,Walnut Creek, California 94596

Namc(s)of federal court(s) in which I have been admitted Sec attachment "A"

1 certify that the rules of the federal court in the district in which I maintain my office extend a similar/JW hac vice admission
privilege to members ofthe bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.


I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.


I am       am not ^ a full-time employee of the United Slates of America, and if so,^quest c;^mption from the admission fee.
                                                                                         (Appiic^nPs^^^ature)
I, the undersigned, do ccrtily that I am a member oflhc bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
c.xamined the applicant's personal statement. I affirm that his/her personal and professional character and standing arc good, and
petition the court to admit the applicant pro hue vice.


                                                      (Signature)                                               (Date)

                                                               iTypcd or Printed Name)                          (VA Bar Number)
Court Use Only:

Clerk's Fee Paid            or Exemption Granted

The motion for admission is GRANTED                      or DENIED

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                         (Judge's Signuttirc)                                                   (Dale)
Case 1:19-md-02915-AJT-JFA Document 57 Filed 11/14/19 Page 2 of 2 PageID# 143
